Case 1:16-cv-00347-JMS-RLP Document 152 Filed 10/05/17 Page 1 of 3   PageID #:
                                   1012



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APT-320, LLC

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.   )
STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
EDMON KELLER AND                      )
CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT APT-320, LLC’S
FAMILY TRUST; CRAIG B.                )   RESPONSE TO PLAINTIFFS
STANLEY, individually; MILLICENT      )   ATOOI ALOHA, LLC, CRAIG B.
ANDRADE, individually,                )   STANLEY, AS TRUSTEE FOR
                                      )   THE EDMON KELLER AND
                  Plaintiffs,         )   CLEAVETTE MAE STANLEY
                                      )   FAMILY TRUST, CRAIG B.
      vs.                             )   STANLEY, AND MILLICENT
                                      )   ANDRADE’S SECOND REQUEST
ABNER GAURINO; AURORA                 )   FOR PRODUCTION OF
GAURINO; ABIGAIL GAURINO;             )   DOCUMENTS]
INVESTORS FUNDING                     )
CORPORATION, as Trustee for an        )
Case 1:16-cv-00347-JMS-RLP Document 152 Filed 10/05/17 Page 2 of 3      PageID #:
                                   1013



unrecorded Loan Participation          )
Agreement dated June 30, 2014; APT-    )
320, LLC, a Hawaii Limited Liability   )
Company; CRISTETA C. OWAN, an          )
individual; ROMMEL GUZMAN;             )
FIDELITY NATIONAL TITLE &              )
ESCROW OF HAWAII and DOES 1-           )
100 Inclusive,                         )
                                       )
                   Defendants.         )
                                       )

                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 3, 2017, a copy of above-identified

document was served upon the following parties:

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                  Cleavette Mae Stanley Family Trust;
                  CRAIG B. STANLEY, Individually; and
                  MILLICENT ANDRADE, Individually

                                        2
Case 1:16-cv-00347-JMS-RLP Document 152 Filed 10/05/17 Page 3 of 3      PageID #:
                                   1014




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           DATED: Honolulu, Hawaii; October 5, 2017.


                                    /s/ Charles A. Price
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                                    APT-320




                                       3
